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                                 21097



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 BLUE SPIKE, LLC                               § Civil Action No. 6:12-CV-499 MHS
      Plaintiff,                               §
                                               § LEAD CASE
 v.                                            §
                                               §
 TEXAS INSTRUMENTS, INC.                       §
      Defendants                               §


 BLUE SPIKE, LLC,                              § Civil Action No. 6:12-CV-576 MHS
        Plaintiff,                             §
 v.                                            § CONSOLIDATED CASE
 AUDIBLE MAGIC CORPORATION,                    §
 FACEBOOK, INC., MYSPACE, LLC,                 §
 SPECIFIC MEDIA, LLC,                          §
 PHOTOBUCKET.COM, INC.,                        §
 DAILYMOTION, INC.,                            §
 DAILYMOTION S.A., SOUNDCLOUD,                 §
 INC., SOUNDCLOUD LTD., MYXER,                 §
 INC., QLIPSO, INC., QLIPSO MEDIA              §
 NETWORKS LTD., YAP.TV, INC.,                  §
 GOMISO, INC., IMESH, INC.,                    §
 METACAFE, INC., BOODABEE                      §
 TECHNOLOGIES, INC., TUNECORE,                 §
 INC., ZEDGE HOLDINGS, INC.,                   §
 BRIGHTCOVE INC.,                              §
 COINCIDENT.TV, INC., ACCEDO                   §
 BROADBAND NORTH AMERICA,                      §
 INC., ACCEDO BROADBAND AB,                    §
 AND MEDIAFIRE, LLC                            §
        Defendants.                            §


  ORDER REGARDING BLUE SPIKE’S OPPOSED MOTION TO EXTEND DEADLINE
         BY 9 DAYS TO RESPOND TO AUDIBLE MAGIC’S DISCOVERY

        This matter came before the undersigned on Plaintiff Blue Spike’s Opposed Motion to

 Extend Deadline by 9 Days to Respond to Audible Magic’s Discovery (“Plaintiff’s Motion”).

 (ECF No. 1648.) Based on the submissions of the Parties and the entire record of this case, IT IS

 HEREBY ORDERED that:
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       Plaintiff’s Motion is DENIED.
